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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

  UNITED STATES OF AMERICA,

                       Plaintiff,                                8:06CR411

        vs.
                                                                   ORDER
  MARK ANTHONY HUDSON,

                       Defendant.

    The court has been presented a Financial Affidavit (CJA Form 23) signed by the
  above-named defendant in support of a request for appointed counsel. After a
  review of the Financial Affidavit, I find that the above-named defendant is eligible
  for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C.
  §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.

   IT IS ORDERED:

    The Federal Public Defender for the District of Nebraska is appointed to
  represent the above named defendant in this matter. In the event that the
  Federal Public Defender accepts this appointment, the Federal Public Defender
  shall forthwith file an appearance in this matter. In the event the Federal Public
  Defender should decline this appointment for reason of conflict or on the basis of
  the Criminal Justice Act Plan, the Federal Public Defender shall forthwith provide
  the court with a draft appointment order (CJA Form 20) bearing the name and
  other identifying information of the CJA Panel attorney identified in accordance
  with the Criminal Justice Act Plan for this district.

    IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
  the Federal Public Defender for the District of Nebraska.

         DATED this 27th day of March, 2013.

                                            BY THE COURT:

                                            s/ Thomas D. Thalken
                                            United States Magistrate Judge
